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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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In Re: New York City Policing During Summer                    :           ORDER
2020 Demonstrations                                                        20 Civ. 8924 (CM) (GWG)
                                                               :
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ADAM GRAY, et al.,

                                            Plaintiffs,      :             21 Civ. 6610 (CM)

                                   v.                        :

CITY OF NEW YORK, et al.,

                                             Defendants :
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GABRIEL W. GORENSTEIN, United States Magistrate Judge

         As reflected in Judge McMahon’s order of September 27, 2021 (Docket # 19) in 21 Civ. 6610, 21
Civ. 6610 is consolidated for discovery purposes with the grouping of cases consolidated as In Re: New
York City Policing During Summer 2020 Demonstrations, 20 Civ. 8924. The Clerk is directed to indicate
that 21 Civ. 6610 is a member case of 20 Civ. 8924. All filings related to discovery in 21 Civ. 6610 shall
be filed under 20 Civ. 8924 (and not in 21 Civ. 6610).

         With respect to the request for a conference in Docket # 23 in 21 Civ. 6610, the Gray plaintiffs
shall discuss their discovery needs with the City and the plaintiffs in the consolidated cases. If agreement
can be reached, it may be presented in the form of a joint letter. If agreement cannot be reached, it may be
presented in the form of separate letters filed on the same date. If the parties cannot agree on a date by
which the letters will be filed, they shall be filed by October 20, 2021.

        SO ORDERED.

Dated: October 6, 2021
       New York, New York
